        Case 2:17-cr-20595-VAR-EAS ECF No. 205 filed 07/15/20                                           PageID.3551   Page 1 of 1
(EDMI 9/2018) Appointment of the Federal Community Defender of the Eastern District of Michigan



                                           UNITED STATES DISTRICT COURT
                                                                    for the
                                                          Eastern District of Michigan

                 United States of America                                 )
                            v.                                            )         Case No. 17-20595
               Yousef Mohammad Ramadan                                    )
                                                                          )

                       APPOINTMENT OF THE FEDERAL COMMUNITY DEFENDER
                             OF THE EASTERN DISTRICT OF MICHIGAN

  v MULTIPLE DEFENDANT CASE                                                   v
                                                                              ✔ DEFENDANT IN CUSTODY
  v
  ✔ NON-ENGLISH SPEAKING                                                      LANGUAGE: Arabic
  APPOINTMENT INFO: Indictment
                    OTHER:

             The defendant has qualified for the appointment of counsel under the Criminal Justice Act.
           IT IS ORDERED that the Federal Community Defender of the Eastern District of Michigan, 613 Abbott Street, 5th floor,
Detroit, Michigan 48226, telephone (313) 967-5555, is appointed to represent this defendant in this case, unless the appointment
is terminated by (1) Order of the Court, (2) appointment of substitute counsel, or (3) appearance of retained counsel.

          IT IS FURTHER ORDERED that should this case require the assignment of an attorney from the CJA panel, the
Federal Community Defender of the Eastern District of Michigan is authorized to issue such appointment using the electronic
system to create the appropriate CJA appointment form. CJA Counsel will represent the defendant in this case unless the
appointment is terminated by (1) Order of the Court, (2) appointment of substitute counsel, or (3) appearance of retained counsel.

NEXT COURT DATE: None

Date: July 15, 2020                                                       s/Victoria A. Roberts
                                                                         Judicial Officer’s Signature

                                                                          Victoria A. Roberts, U.S. District Judge
                                                                         Printed name and title

AUSA Assigned: Doug Salzenstein, Hank Moon, Benjamin Coates. Michael Martin



                       ORDER REQUIRING DEFENDANT TO MAKE PARTIAL PAYMENTS
IT IS ORDERED that partial payment be made by the defendant in the amount of $                       monthly, commencing
on                                , until this case is terminated or otherwise ordered by the Court. Payment shall be made
to the Clerk of the Court, Theodore Levin United States Courthouse, 231 West Lafayette Boulevard, Detroit, MI 48226.


                                                                         Judicial Officer’s Signature


I hereby acknowledge that I am responsible for the partial payments and payment plan ordered by the Court.

                                                                         Defendant’s Signature
